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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,         Case No. 1:20-cv-03010-APM

 v.                                                HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.




 State of Colorado, et al.,

                               Plaintiffs,         Case No. 1:20-cv-03715-APM

 v.                                                HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.


               JOINT STATUS REPORT OF GOOGLE AND PERPLEXITY

       Pursuant to the Court’s guidance at the January 17, 2025 status conference and the

Court’s January 20, 2025 Order, see ECF No. 1144, Google and Perplexity (collectively, the

“Companies”) submit the following statements with respect to Perplexity’s compliance with

Google’s subpoenas.

       I.      GOOGLE’S POSITION STATEMENT

       In the prior JSR submitted in advance of the last status conference, Google and Perplexity

had two outstanding disputes. First, the Companies disputed whether Perplexity’s three ESI

custodians should include (as Google suggested) Perplexity’s CEO, Mr. Aravind Srinivas, or (as


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Perplexity suggested) Perplexity’s Chief Technology Officer, Mr. Denis Yarats. Second, the

Companies disputed what search terms Perplexity should employ to locate potentially responsive

ESI. Regarding the latter issue, Google had proposed a set of search strings for Perplexity to use

on Google’s requested custodians; Perplexity tested those search terms (albeit against

Perplexity’s preferred custodians) and indicated that they yielded 51,811 documents. Perplexity

had not proposed—and still has not proposed—its own comprehensive set of search strings.

       On Friday evening, following the status conference, Perplexity tested the 51,811

documents collected to see how many were emails sent to or by Mr. Srinivas. Perplexity

reported that there were 7,585 such emails. Based on that representation, Google is no longer

pursuing the inclusion of Mr. Srivinas as a separate custodian, and thus, the first dispute

described above is resolved.

       Google believes that the most efficient way forward would be for Perplexity simply to

begin reviewing the 51,811 documents that it has collected, and it informed Perplexity as much

on Sunday evening. Google also offered Perplexity a potential alternative: it simultaneously sent

Perplexity an alternate, narrower set of search strings to test if it so chose. Google made clear,

however, that it could not agree to let Perplexity use those alternate strings unless Perplexity

could provide by Monday evening at 8:00 pm EST (1) a de-duplicated hit count for them (to

confirm that the hit count was not unduly low), (2) the number of unique emails contained in the

set sent by or to Mr. Srinivas (consistent with the discussion, supra), and (3) confirmation that

use of the alternate search strings would not delay production any further than it has already been

delayed. To date, Perplexity has produced no custodial ESI whatsoever on a subpoena served in

October.

       In response, Perplexity refused to run either set of search strings and, instead, demanded



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that Google devote still more time to negotiating search strings. Under Perplexity’s approach,

the companies would spend additional time negotiating search terms designed to yield hits of

somewhere between 10,000 and 15,000 documents—i.e., upwards an 81% reduction from the set

already collected. Perplexity has provided no basis for this arbitrary numerical threshold.

        Perplexity’s putative proposal is really no different from the position that it took in last

week’s briefing. But the fundamental problem with that position is that, if Perplexity wanted to

negotiate for search strings that garnered a particular number of hits, it could have (and should

have) crafted its own proposed search terms weeks ago or at least after the Court scheduled

today’s JSR. Perplexity did not, and Google respectfully submits that the time has come (and

then some) for Perplexity to begin reviewing and producing the documents that it has already

collected.

        As far as Google can tell, Perplexity’s sole argument against reviewing the 51,811

documents already collected is burden. If so, there are at least two problems with that. First, it

is hardly clear that 51,811 documents is an inappropriate number in the context of this litigation.

Multiple Perplexity employees have spoken to Plaintiffs about this litigation. At least one

intends to testify on Plaintiffs’ behalf at the remedies hearing. Unlike other third parties, the

liability discovery record contains zero Perplexity documents. And, as the Court knows well,

third parties in this litigation have routinely reviewed and produced far, far larger volumes of

documents than the set Perplexity now refuses to review.

        Second, Perplexity has no one but itself to blame for the present circumstances. Google

served its first subpoena on Perplexity on October 25, 2025.1 Perplexity has never proposed


1
 The Court may recall that Perplexity informed the Court that “from what [it] can tell, the subpoena was
not properly served.” Hr’g Tr., at 45 (Nov. 26, 2024). Google inquired of Perplexity following the
hearing, but Perplexity could not substantiate that representation. To the contrary, the records of the
California Secretary of State confirm that the entity Google served (CT Corporation) is Perplexity’s

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search strings for responding to that subpoena. Perplexity did not provide Google a hit count

for Google’s proposed strings until last week and, even then, artificially inflated them by double-

counting duplicate documents. If Perplexity wished to propose its own search string, the time to

have done so would have been many weeks ago. At this point, the “number one priority . . . is to

get Google the information it needs and do so quickly.” Hr’g Tr., 28 (Jan. 17, 2025). In that

spirit, Google respectfully requests that the Court direct Perplexity to begin reviewing the 51,811

documents and to make rolling productions to conclude by Friday, January 31, 2025.

        II.     PERPLEXITY’S POSITION STATEMENT

        There is only one vaguely defined dispute remaining between Google and Perplexity as

to Google’s ESI demands; it relates to search terms and hit counts. Perplexity previously

requested that Google provide narrowed search terms with the goal of reaching a reasonably

sized document review universe. Google provided narrowed search terms on Sunday afternoon,

demanding Perplexity provide detailed hit count information by 5pm PT the next day—Martin

Luther King Jr. Day. As counsel for Perplexity has explained, the discovery vendor capable of

providing that information was closed over the holiday weekend. Perplexity has committed to

running Google’s proposed terms today and to working with Google with the goal of reaching

agreement on final search terms today that would produce a reasonable document review

universe of 20,000 documents or fewer, so that Perplexity can complete its ESI production

within the next three weeks. Google has insisted on submitting this “dispute” to the Court.2




registered agent.
2
  Perplexity is unclear as to what Google believes the current “dispute” is between the Companies, other
than the fact that the Companies need to agree to final search terms. To the extent Google plans to re-
raise past disputes related to either ESI custodians or hit counts, Perplexity incorporates by reference its
portion of the Companies’ previous joint submission. See Dkt. No. 1127.


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       A.      Recent Developments

       On Friday, January 17, 2025, the Court briefly heard argument regarding the dispute

between Google and Perplexity as to the following issues:

       (1) Whether Perplexity was required to collect and produce custodial ESI from its Chief

            Executive Officer, instead of its Chief Technology Officer, where Perplexity is

            already producing custodial ESI from its Chief Strategy Officer and Chief Business

            Officer; and

       (2) Whether Google should be required to continue meeting and conferring with

            Perplexity to narrow its search terms until they produce a reasonable review universe.

       During the January 17 hearing, the Court emphasized that the subject matter of the ESI

discovery Google sought was more important than who it came from and questioned whether

Perplexity’s Chief Executive Officer had any unique information in his possession that would

not otherwise be covered by Perplexity’s production of custodial email from its Chief

Technology Officer, Chief Strategy Officer, and Chief Business Officer. The Court then advised

the Parties to attempt to resolve their dispute considering this guidance, and to provide a Joint

Status Report on their progress by Tuesday, January 21, 2025.

       Following the hearing, on Friday evening counsel for Perplexity sought to allay Google’s

concerns regarding whether Perplexity’s proposed custodial collections would capture any

potentially unique information in Perplexity’s CEO’s possession. Specifically, Perplexity’s

counsel shared information showing that approximately 15% of the documents hitting on

existing versions of Google’s proposed search terms reflected email sent directly to or directly

from Perplexity CEO Aravind Srinivas. This high percentage of email to and from Mr. Srinivas

makes perfect sense, given that Perplexity’s custodial collection consisted of three other high-



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level C-suite executives.

       At the same time, Perplexity also offered to work together to iterate on search terms with

Google on Tuesday, January 21, with the goal of arriving at terms that produced a reasonable

document review universe of 20,000 documents or fewer.

       On Sunday, January 19, counsel for Google responded to Perplexity’s offer. While

Google superficially reiterated its original demand that Perplexity produce custodial ESI from its

CEO and review over 50,000 documents, it also stated that Google “would not object in principle

if Perplexity were to test the somewhat revised search terms that we’ve set forth below against

Mr. Yarats’, Mr. Ho’s, and Mr. Shevelenko’s files.” Google then provided narrowed versions of

its terms, designed to reduce the total document review universe. However, Google conditioned

this proposed compromise on Perplexity providing information regarding hit counts and the

percentage of those counts that included Perplexity’s CEO by no later than 5pm PT the next

day—Martin Luther King Jr. Day.

       On the morning of Monday, January 20—Martin Luther King Jr. Day, counsel for

Perplexity agreed to Google’s outlined compromise, but informed Google that it could not

provide search hits and related information on a holiday because its discovery vendor was closed

and not able to process requests on a holiday. Counsel for Perplexity committed to providing

Google with the requested information as soon as possible on Tuesday, January 21, and again

committed to working with Google to iterate on search terms with the goal of arriving at a

reasonable document review universe and to agree on final search terms by the end of the day on

Tuesday, January 21. Finally, Perplexity also committed to being able to substantially complete

its ESI production—based on a 20,000 document or fewer review universe—by February 7.

       On Monday evening, counsel for Google rejected this offer in lieu of again submitting



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this dispute to the Court. See Ex. A.

          B.      Perplexity’s Proposed Path Forward

          Perplexity’s discovery vendor opens this morning, and Perplexity intends to provide

Google with its requested hit count information and to work with Google with the goal of

arriving at a reasonable document review universe of 20,000 documents3 or fewer today, which

will allow Perplexity to provide Google with the discovery it seeks well in advance of the close

of fact discovery.

Dated: January 21, 2025                            Respectfully submitted,

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    Google itself proposed a document review of this size on January 16. See Ex. A.


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